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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                           ENTERED
                                                                                            02/05/2018
IN RE:                                         §
                                               §       CASE NO: 16-32488
SANDRIDGE ENERGY, INC., et al                  §       CHAPTER 11
                                               §
         Debtor(s).                            §       DAVID R. JONES
                                               §
                                               §
BAKER FARMS, INC., et al                       §
                                               §
         Plaintiff(s),                         §
                                               §
vs.                                            §       ADVERSARY NO. 16-3223
                                               §
SANDRIDGE E&P, LLC                             §
                                               §
         Defendant(s).                         §

                                       FINAL JUDGMENT
                                          (Docket No. 1)

        For the reasons set forth in the Court’s Memorandum Opinion entered this date, the Court
grants declaratory relief as follows.

       1.     The plaintiffs are bound by the confirmed plan in the main bankruptcy case. As
such, they are prohibited from (i) continuing to litigate; or (ii) commencing new litigation
concerning the claims that are the subject of this adversary proceeding.

       2.      This is a final judgment.

       3.      All other relief is denied.

       SIGNED: February 5, 2018.


                                               ___________________________________
                                               DAVID R. JONES
                                               UNITED STATES BANKRUPTCY JUDGE




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